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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,             Case No. 1:20-cv-03010-APM

 v.                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,             Case No. 1:20-cv-03715-APM

 v.                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.


      CONSENT NOTICE OF PLAINTIFFS’ EXHIBITS OFFERED FOR ADMISSION
         SUBJECT TO STANDING OBJECTION TO EMBEDDED HEARSAY

        Without opposition, Plaintiffs offer the following remedies trial exhibits for admission

into evidence subject to Google’s standing objection to any embedded hearsay contained within:

 PXR0003                  PXR0007                    PXR0008                 PXR0010
 PXR0016                  PXR0022                    PXR0023                 PXR0027
 PXR0039                  PXR0044                    PXR0045                 PXR0046
 [intentionally blank]    PXR0062                    PXR0065                 PXR0066
 PXR0067                  PXR0068                    PXR0079                 PXR0081
 PXR0082                  PXR0083                    [intentionally blank]   PXR0115
 PXR0125                  PXR0129                    PXR0133                 PXR0146
 PXR0149                  PXR0154                    PXR0155                 PXR0156
 PXR0168                  PXR0169                    PXR0175                 PXR0190
 PXR0193                  PXR0202                    PXR0221                 PXR0228
 PXR0229                  PXR0240                    PXR0241                 PXR0243
 PXR0244                  PXR0255                    PXR0275                 PXR0721


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April 24, 2025                                      Respectfully submitted,

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